@.-.ie.\i=mn…i.i-W, Case: 1:O4-Cv-08123 Document #: 16 Filed: 03/24/05 Page 1 of 1 Page|D #:47”/
le

United States District Court, Northern District of Illinois

 

Name 0|` Assigned Judge
or Magistrate Judge

Blanche M. Manning

Sitting Judgc if Other
than Assigned Judge

 

 

 

 

 

CASE NUMBER 04 C 8123 DATE 3/24/2005
CASE Ludington Tech Inc. vs. Blizzard Corp.
TITLE

 

DOCKET ENTRV TEXT:

 

 

l [ For further detail see attached order.]

Pursuant to settlement agreement, this ease is dismissed with prejudice and without costs as set forth in the
dismissal order. This court retains jurisdiction to enforce the settlement agreement Eriter Agreed Order of
Dismissal. Status hearing stricken

Docketing to maii notices.

 

 

 

 

Couc'troorn Deputy
|nitials:

 

I'S

 

 

04C8123 Ludington Tech Inc. vs. Blizzard Corp.

Page 1 of l

